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         1         MONTANA NINETEENTH JUDICIAL DISTRICT COURT

         2                         LINCOLN COUNTY

         3

        4    Cause No. DV-98-139

        5    KENNETH R. FINSTAD and EDITH
             L. FINSTAD, husband and wife,
        6
                         Plaintiffs,
        7
                  -vs
        8
             W.R. GRACE & CO.-Conn, a
        9    Connecticut corporation, EARL
             0. LOVICK and DOES I-IV,
    10
                        Defendants.
    11

    12

    13
                                   DEPOSITION OF
    14
                               KENNETH R.      FINSTAD
    15
                            (On Behalf of Defendants.)
    16

    17

    18

    19

   20

   21
                  McGarvey,   Heberling, Sullivan & McGarvey
   22                         745 South Main Street
                               Kalispell, Montana
   23                  Monday, March 22, 1999     8:00 a.m.
                                                   --




   24
             Reported by Beth Oilman
                              1 RPR and Notary Public for
   25             the State of Montana, County of Flathead


             HEDMAN,   ASA & GILMAN REPORTING   752-5751/752-3334
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         I.         Q.      Did you use any other type of safety

         2     devices in any of these jobs prior to working for W.

         3     R, Grace?

         4          A.      Gloves and hard-toe shoes.

         5          Q.      Hard-toe boots?

         6          A.      Right.

        7           Q.      Hard hat?

        8           A.     No.     In the woods,       yes.

        9           Q.     How about safety goggles?

    10             A.      No.

    11             Q.      The document states that you started at W.

    12        R. Grace in 1965;      is that right?

    13             A.      Yes.

    14             Q.      What was your first job there?

    15             A.      Construction,        in the construction

    16        department.

    17             Q.      And what did you do in the construction

    18        department?

    19             A.      We dust   --   Whatever came up,        cleanup,
   20         digging ditches if we had to or            --    Sometimes we went
   21         up to the mine and helped when they was getting

   22         ready to blast.

   23              Q.      How long did you       --




   24             A.       The beltline cleanup and things.

   25             Q.     Excuse me.       I’m sorry.          Beltline cleanup?


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         1         A.     Yeah,   sweeping up in the mill once in

         2   awhile.

         3         Q.     Did you work in or around a lot of dust

         4   when you were in the construction department?

        5         A.      Sometimes, yes.

        6         Q.      And when you say sometimes, was it in a

        7    particular place or area?

        8         A.      Well,   in the mill itself it was all dust.

     9       There was dust all outside too, but not near as much

    10       as inside.

    11            Q.      And when you say the mill, you mean the

    12       old dry mill?

    13            A.      Dry mill, yes.

    14            Q.      What types of things would you do when you

    15       were in the construction department inside the old

    16       dry mill?

    17            A.      Cleanup work, sweeping.

    18            Q.      And that was when you were in the

    19       construction department?

    20            A.     Yes.

   23.            Q.     How often would you say that you were in

   22        the dry mill doing cleanup,      sweeping?

   23            A.      Oh, maybe two or three times a week.

   24             Q.     For how long at a period of time?

   25            A.      Sometimes all day.


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         1                Q.        When you were in the construction

         2    department then sweeping or cleaning up in the dry

         3    miii, was that probably the duty that you did the

         4    most often,             sweeping in the dry mill?

         5                A,    No.     It varied from, you know, day-to-day

        6    what we had to do.              Like if they had a building

        7    project of some type going on
                                        1 well,                   some of us

        8    would be doing that and then others would be kind

        9    of   -   -    would just be kind of spread out doing

    10       different jobs.

    11                    Q.    How long were you in the construction

    12       department?

    13                    A.    Probably a couple months I suppose, maybe

    14       a little longer.

    15                Q.        Then what did you do?

    16                A.        I bid on the skip job.

    17                Q.        And were bids awarded based on seniority?

    18                A.        No,    not necessarily.     They didn’t really

    19       seem to be, because most generally if you bid on a

    20       job, you          --    you know, you usually got it, you know,

    21       if someone else hadn’t been there for a longer

   22        period of time.              I would imagine it would probably

   23        be a seniority rule type thing,                you know.

   24                 Q.       What’s a skip operator?          How would you

   25        describe it?


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         1            A.    Well, you got the two skip cars,           they pull

         2   underneath these bins and you dump the ore,                the

         3   dried ore,      into the   -   -   or the dried product,

        4    vermiculite, into the cars and they go down the hill

         S   and dump in bins down there.               And you just keep

         6   going back and forth all day or all night, whichever

        7    shift you’re on, you know.

     8               Q.    And which portion would you operate,               the

     9       moving the cars or the part that would dump the ore

    10       into the cars?

    11               A.    All of it.

    12               Q.    All of it,

    13               A.    Yeah.     The bins were       --   The gates on the

    14       bins were air-activated and then the cars were                 - -




    15       you run those back and forth up and down the hill.

    16       They were on a cable-type system.

    17               Q.    Was there a lot of dust in and around this

    18       job?.

    19               A.    Yes.

    20               Q.    This was a less labor-intensive job?

    21               A.    Right.

    22               Q.    Than the other?

   23                A.    Right.

   24                Q.    How long did you do that?

   25                A.    Oh,    I imagine a year anyway, maybe a


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         1    little over.

         2         Q.      And then what did you do?

         3         A.      I bid on top floor operator job.

         4         Q.      And did you get that?

         5        A.       Yes.

        6          Q.      And what’s a top floor operator job?

        7         A.       They make sure everything is running right

        8    on the top three floors.         You got hammer mills or

        9    roller mills and screens and things you got to keep

    10       track of and make sure everything is doing what it’s

    11       supposed to do.

    12            Q.     Did you work eight-hour shifts?

    13            A.     Yes.

    14            Q.     And this was in the dry mill?

    15            A.     Yes.

    16            Q.     Was this the dustiest job of the three

    17       that you had had?

    18            A.     Yes.

    19            Q.     How long did you do that?

    20            A.     Pretty close to a year.       Probably nine,

   21        ten months,    I suppose.

   22             Q.     Did you supervise anybody when you were

   23        the top floor operator?

   24            A.      No.

   25             Q.     Did you ever supervise anybody up there at


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     1                First of all,          I would like to talk about

     2   your health right now; okay?                 As you sit here today,

     3   how would you describe your general health?

     4           A.   Poor.

     5           Q.   What type of health symptoms or problems

     6   do you suffer from right now?

     7           .    Shortness    .u.   reath,

     8           Q.   And when you say shortness of breath,

     9   could you elaborate on that?                 What do you mean by

    10   that?

    11           A.   If I get real active and I run out of air

    12   and my oxygen level drops way down.

    13           Q.   Do you ever pass out or get dizzy?

    14           A.   Yes.

    15           Q.   You’ve actually passed out?

    16           A.   Yes,    from coughing.

    17           Q.   How many times?

    18           A.   I don’t know.              Quite a few.

    19           Q.   Like over a dozen?

    20           A.   Oh, yeah.

    21           Q.   Do you actually fall to the floor?

    22           A.   Yes.

    23           Q.   And how long are you typically out?

    24           A.   Oh, maybe a minute or two.                Sometimes

    25   less.


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         1        Q.     What types of activities usually cause you

        2    to become short of breath?

         3        A.     Oh,    walking a lot,   just getting aggressive

     4       doing something.       If I try to move appliances

     5       around,   things like that.

     6            Q.     So lifting things?

     7            A.    Yes.

     8            Q.    Do you exercise?

     9            A.    I walk.

    10            Q.    How far do you walk?

    11            A.    Oh, here lately not very far.         The weather

    12       has been bad,     but we usually try to walk     --    We go

    13       around the green belt.       That’s about maybe a mile.

    14            Q.    Do you try to do that everyday?

    15            A.    Yes,    weather petnitting.

    16            Q.    And can you usually walk this mile without

    17       becoming too short of breath?

    18            A.    As long as I have my air tank.

    19            Q.    When you say air tank, you bring an air

    20       tank with you?

    21           A.     Yes.

    22            Q.    You wheel it behind you?

    23           A.     I pack it with me on my shoulders.

   24             Q.    Do you draw on the air tank as you’re

   25        walking or do you just use it if you need it?


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     1           A.     It’s computerized.         It gives me a shot of

     2   air every once in awhile.

     3           Q.     So you actually put it right on your

     4   mouth?

     5           A.     Yes, on    --   Yes.

     6           Q.     Who prescribed that for you?

     7           A.     Dr. Mosley.

     8           Q.     When is the last time you tried to walk

     9   the mile without the air tank?

    10           A.     I haven’t.

    11           Q.     You didn’t start walking until after you

    12   got the air tank?

    13           A.     Right.

    14           Q.     And do you exercise by walking on Dr.

    15   Mosley’s recommendation, or request?

    16           A.     Yeah.     I’m trying to lose weight.

    17           Q.     Have you lost weight?

    18           A.     Yes.

    19           Q.    How much?

    20           A.     I think about 10 pounds.         I think 10,   12

   21    pounds I think they said last time.

   22            Q.    And when you say 10 to 12 pounds,         since

   23    when?

   24            A.     Probably about a month ago,        two months ago

   25    maybe.       It was before I had my last oxygen loss teSt


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     1   door at any time of the day and night, you know,

     2   with something wrong.           We live right in the court,

     3   so   - -




     4              Q.   Okay.     How long have you managed the

     S   trailer court?

     6              A.   Since ‘92.

     7              Q.   Do you get paid a salary for that?

     8              A.   Yes.

     9              Q.   How much?

    10              A.   Five hundred.

    11              Q.   A month?

    12              A.   Yes.

    13              Q.   How often would you say that you run Out

    14   of air to the point of passing out?

    15              A.   Just when I start coughing real hard.

    16              Q.   But on like,    say,    an average month, how

    17   many times have you coughed so hard that you would

    18   pass out?

    19              A.   Two or three probably.

    20              Q.   And when is the first time that you can

    21   recall this happening?

    22              A.   Couple years ago, about two years ago.

    23              Q.   Do you take any medication for the

    24   coughing?

    25              A.   No.


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     1          Q.   Are you taking any other medication right

     2   nOw?

     3          A.   Yes.

     4          Q.   What medication?

     5          A.    I take blood pressure pills, gout pills

     6   and a diuretic and an aspirin and potassium.

     7          Q.   Do you take any of these for the

     8   asbestosis thats been diagnosed?

     9          A.   No.

    10          Q.   All your medication is for other ailments?

    11          A.   Yes.     And I take an inhaler too,   and they

    12   give me that for my breathing.

    13          Q.   We talked about shortness of breath.       What

    14   other symptoms do you have as you sit here today

    15   that cause you health concerns?

    16          A.   Just the coughing and the not being able

    17   to do the things I usually do,       or at the rate I used

    18   to do them.

    19          Q.   And when you say coughing,     how often do

    20   you have coughing problems?

    21          A.   All the time.

    22          Q.   Do you find that any part of the day is

    23   particularly troublesome in terms of coughing?

    24          A.   Night.

    25          Q.    So does your coughing get worse over the


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         1   day?

      2             A.   No.     It’s off and on.        Just depends on how

     3       much I exert myself is how much I cough.

     4              Q.   So the more you exert,          the more you cough?

     5              A.   Right.     The exertion brings on the

     6       coughing.

     7              Q.   When you were living in Rock Springs,

     8       Wyoming, did you have a family doctor?

     9              A.   Yes.

    10              Q.   Who was that?

    ii              A.   It was Dr. Harrison.

    12              Q.   And he’s in Rock Springs?

    13              A.   He’s passed away.

    14              Q.   But he was in Rock Springs?

    15              A.   Yes.

    16              Q.   Do you remember his first name?

    17              A.   No,    I don’t.

    18              Q.   Do you remember seeing any other health

    19       care providers while you were living in Rock

    20       Springs?

    21              A.   Dr. Eile.

    22              Q.   Doctor who?

    23              A.   Eile.

    24              Q.   How do you spell that?

    25              A.   I think it’s E-I-L-E,       I think.    I’m not


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     1        Q.      Do you recall your wife trying to quit

     2   smoking up until a month ago?              Ever tried

     3   previously?

     4        A.      One time.

     5        Q.      Do you remember when that was?

     6        A.      Probably about eighty          --   ‘87 or ‘88

     7   maybe.    Somewhere in that area.

     8        Q.      Did she go through a particular smoking            --




     9   anti-smoking,       stop-smoking program?

    10        A.      No.

    11        Q.      Do you remember how long she made it?

    12        A.      About four hours.         My kids begged me to go

    13   get her a pack of cigarettes.

    14        Q.      Kenneth, how long        --   I think you told me,

    15   and I apologize,      but how long have you had the

    16   oxygen?

    17        A.      About a month.

    18        Q.      And that’s what you walk with?

    19        A.      Yes.

    20        Q.      And you hadn’t tried walking a mile

    21   without that prior to getting that oxygen?

    22        A.      I can’t do it, no.

    23        Q.      When you were working up at the mine, W.R.

    24   Grace mine,    Kenneth, were you living by yourself at

    25   that time?


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     1            A.   Yes,    1 no.
                               Well         There was me and another

     2    g-uy living together.      We were both working there.

     3            Q.   Did you have an apartment?

     4            A.   Trailer.

     5            Q.   Did you accumulate a lot of dust on you

     6    during your shift?

     7            A.   Yes.

     8                 Did you try to clean it off before going

     9    home?

    10            A,   Tried to blow it off with the air hose.

    11            Q.   Did most of the guys try to do that?

    12            A.   Yes.

    13            Q.   Before you would get on the bus?

    14            A.   Yeah.

    15            Q.   And did that help quite a bit?

    16            A.   Well,   just kind of like just drove it more

    17    into you more than anything else, but it got the

    18    outside cover oft pretty much.

    19            Q.   And was that pretty much your routine?

    20    You would have someone blow you off with the air

    21    hose before going home everyday?

    22            A.   Yeah.

    23            Q.   Did you wear the same clothes to work any

     24   particular number of days?

     25           A.   No.     I changed everyday.


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     1        Q.         Did you have any system of shaking your

     2   clothes or otherwise trying to get rid of dust

     3   before you brought your dirty clothes into the

     4   apartment?

     5        A.         Just shake them and then,          you know,   get

     6   what we could out and then put them in the wash

     7   machine.

     8        Q.         Do you recall the place where you were

     9   living    --    Did you say it was an apartment?

    10        A.         Trailer house,          little trailer.

    11        Q.         Trailer house.          Do you remember the

    12   trailer house being particularly dusty?

    13        A.         The whole town of Libby has got dust,            all

    14   kinds of dust.

    15        Q.         Do you recall having a specific problem

    16   with the dust you would bring from the mine on your

    17   clothes?

    18        A.         No.   I’ve    --   Just didn’t pay any attention

    19   to it.

    20        Q.         But you didn’t change clothes up at the

    21   mine or anything like that?

    22        A.        No.    No.

    23        Q.        Ind you would change clothes everyday?

    24        A.         Right,   at home, yes.

    25        Q.         Kenneth,     were you aware of the union


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